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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  BETHUNE-COOKMAN UNIVERISTY,
  INC.

            Plaintiff,                         CASE NO.: 6:22-cv-47-WWB-DAB
  v.

  DR. MARY MCLEOD BETHUNE NATIONAL
  ALUMNI ASSOCIATION, INC., MARY MCLEOD
  BETHUNE NATIONAL ALUMNI ASSOCIATION,
  INC., and JOHNNY L. MCCRAY, JR., individually,

            Defendants.
                                               /

                         DEFENDANTS’ MOTION FOR SUMMARY
                            JUDGMENT AGAINST PLAINTIFF

            Defendants DR. MARY MCLEOD BETHUNE NATIONAL ALUMNI

  ASSOCIATION, INC. (hereinafter “1st MMBNAA”), MARY MCLEOD

  BETHUNE NATIONAL ALUMNI ASSOCIATION, INC. (hereinafter “2nd

  MMBNAA”)(collectively Corporate Defendants” or MMBNAA) and JOHNNY L.

  MCCRAY, JR. (hereinafter “Mr. McCray”)(collectively with Corporate Defendants,

  “Defendants”), by and through the undersigned counsel and in accordance with

  Federal Rule of Civil Procedure 56(c) hereby moves for entry of summary

  judgement against Plaintiff, BETHUNE-COOKMAN UNIVERSITY (hereinafter

  “B-CU” or “Plaintiff”).

       I.      INTRODUCTION

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           This case centers around Plaintiff sending Defendants a cease and desist letter,

  on September 29, 2021, and the actions taken by Corporate Defendants to continue

  operations. See Ex. N to Dkt. 33. The demands contained in the cease and desist fail

  to take into consideration the fact that the 1st MMBNAA has been using various of

  Plaintiff’s claimed marks dating back to as early as 1932. See Ex. A. This

  association has continued even as Plaintiff applied and acquired new trademark

  registrations. Even when a Memorandum of Understanding (hereinafter “MOU”)

  was entered into between the parties on March 17, 2006, the MOU is silent as to the

  use of any trademarks, effectively granting Defendants a naked license. See Ex. B.

  Yet, though Plaintiff was fully aware of this fact, Plaintiff nevertheless and even

  though Defendants have offered to cease operations, has continued pressing this

  matter, going as far as to avoid Defendants’ attempts to mediate with Plaintiff.

           Though case law allows naming a corporate officer where both the

  corporation and corporate officer may be jointly and severally liable, but this is only

  possible when the individual actively and knowingly caused the infringement. With

  respect to Mr. McCray, in view of how the Corporate Defendants operated, he did

  not have the requisite control to be a named defendant.

     II.        FACTUAL BACKGROUND

           1.    Since 1932, the 1st MMBNAA has operated as the alumni association

  for Plaintiff. See Ex. A.

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        2.     In 1971, the parties agreed to establish the 1st MMBNAA as a 501(c)(3)

  not for profit business entity and paperwork was done to make this happen. See Ex.

  C.

        3.     A Memorandum of Understanding (“MOU”) we later drafted and

  eventually executed between the Parties on March 17, 2006. See. Ex. B.

        4.     The MOU is the only written agreement between the Parties as

  identified by Plaintiff. The MOU is silent with respect to the use of Plaintiff’s

  trademarks, creating either a naked license arrangement or a clear acquiescence to

  the use of Plaintiff’s marks as clearly omitted in the MOU. See id.

        5.     This relationship between Plaintiff and the 1st MMBNAA continued in

  relative harmony until Plaintiff began to experience financial hardship and

  Defendants became vocal about the mismanagement of funds and actions occurring

  at Plaintiff’s campus.

        6.     As result of the 1st MMBNAA’s being a vocal proponent for Plaintiff’s

  alumni, Plaintiff sent the 1st MMBNAA a cease and desist letter dated September

  29, 2021. Ex. D (Ex. N to Dkt. 33).

        7.     Even though the 1st MMBNAA attempted to address the issues raised

  in the cease and desist letter, See Ex. E (McCray Decl.); Ex. F (Shorter Decl.) Ex. G

  (Sparks Decl.) and H (Hutcheson Decl.), Plaintiff later filed suit against the

  Defendants in January 2022.

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     III.   SUMMARY JUDGMENT STANDARD

        Summary judgment results if "the pleadings, depositions, answers to

  interrogatories, and admissions on file, together with the affidavits, if any, show that

  there is no genuine issue as to any material fact and that the moving party is entitled

  to a judgment as a matter of law." Rule 56(c), Federal Rules of Civil Procedure; see

  also Celotex Corp. v. Catrett, 477 U.S. 317, 324-25 (1986). A genuine issue of material

  fact does not exist unless there is sufficient evidence favoring the nonmoving party for

  a reasonable jury to return a verdict in its favor. Haves v. City of Miami, 52 F.3d 918,

  921 (11th Cir.1995). The evidence and the available inferences must be viewed in the

  light most favorable to the non-moving party. Steele c. Shah, 87 F.3d 1266, 1269 (11th

  Cir. 1996). The movant bears the initial burden of establishing the absence of a genuine

  issue of material fact. Celotex, 477 U.S. at 323. If the movant is successful, the non-

  moving party must come forward with admissible evidence showing a genuine issue

  of material fact. Celotex, 477 U.S. at 324. "A mere scintilla of evidence supporting the

  opposing party's position will not suffice; there must be enough of a showing that the

  jury could reasonably find for that party." Walker v. Darby, 911 F.2d 1573, 1577 (11th

  Cir. 1990).

     IV.    ARGUMENT

        As discussed below, Mr. McCray did not possess the requite control to be

  included on any of the Counts contained in the Amended Complaint, specifically




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  Counts I, II, III, VI, VIII, IX and XI. For the reasons stated below, each of these

  Counts against Mr. McCray should fail on summary judgment.

            a. Defendants are entitled to summary judgment on all claims brought
               by Plaintiff in view of Affirmative Defenses

                  1)   Count I—TRADEMARK INFRINGEMENT- 15 U.S.C. §
                       1114 (Former & Johnnie)

        Plaintiff has allowed the 1st MMBNAA to use its marks going back to as early

  as 1932. Even though there was a Memorandum of Understanding (“MOU”) entered

  between Plaintiff and the 1st MMBNAA, on March 17, 2006, the MOU is silent

  regarding trademarks. See Ex. B. More specifically, the MOU does not even mention

  or contain the term “trademark” anywhere in it. Furthermore, MOU expressly states

  that it is not a legal or binding agreement. See id. As such, there is no agreement in

  place between Plaintiff and the 1st MMBNAA regarding using Plaintiff’s trademarks.

        As such, not only is there no proof that Plaintiff has ever policed the use of its

  trademarks, but Plaintiff knowingly stood by as the 1st MMBNAA used Plaintiff’s

  trademarks. In essence though the MOU does not support a naked license to the 1st

  MMBNAA, it is evident that Plaintiff simply acquiesced to the 1st MMBNAA’s usage

  of Plaintiff’s trademarks. Plaintiff’s actions, at a minimum, clearly support that its

  claims are barred by the doctrine of laches, the doctrine of estoppel, waiver, the

  doctrine of acquiescence, the doctrine of unclean hands, etc.

        For example, laches consists of the following elements, (1) a delay in

  asserting a right or a claim; (2) that the delay was not excusable; and (3) that there


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  was undue prejudice to the party against whom the claim is asserted. Kason Indus.,

  Inc. v. Comp. Hardware Grp., Inc. 120 F3d 1199, 1203 (11th Cir. 1997). Again, the

  1st MMBNAA’s use of Plaintiff’s marks dating back to 1932. Not until 2006 did

  the parties entered the non-legally binding MOU regarding their relationship.

        Though there is no statute of limitations in the Lanham Act, the laches clock

  may begin to run as soon as a trademark owner knows or should have known of a

  potentially infringing use. See, e.g., Fitbug Ltd. v. Fitbit, Inc., 78 F. Supp. 3d 1180

  (N.D. Cal. 2015). Plaintiff has known of the 1st MMBNAA’s use of its various

  marks since at least 1932. Plaintiff then entered the MOU in 2006 and again failed

  to include any direct language regarding the use of its trademarks.

        Defendants are clearly prejudiced as it was originally established as the alumni

  association for Plaintiff since at least 1932. The prejudice continues because even with

  its changed mission, providing scholarships independent of Plaintiff, Plaintiff is

  seeking to further limit Defendants from performing this mission, even though such a

  mission would benefit Plaintiff’s own students. For example, Plaintiff is fully aware

  that through the over ninety (90) years the 1st MMBNAA used Plaintiff’s marks this

  Corporate Defendant has contributed one million dollars into an endowment fund

  with Plaintiff for student scholarships where this endowment fund has specific rules

  Plaintiff is supposed to apply to use these scholarship funds. The actions being taken

  by Plaintiff is prejudicing Corporate Defendants from carrying out its mission.



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        Similar elements exist when considering waiver and estoppel as the evidence

  clearly shows that Plaintiff implicitly and explicitly permitted use of its marks.

                   2)   Count II—FALSE DESIGNATION OF ORIGIN-15 U.S.C.
                        §1125(a)

        As explained above with respect to Count I, the 1st MMBNAA has been

  around since 1932 and has used Plaintiff’s marks continuously since inception. As

  such at least the doctrines of laches, estoppel and waiver warrant a dismissal of this

  count as all defendants have been prejudiced by Plaintiff’s belated attempts to police

  its marks.

                   3)   Count III—DILUTION BY BLURRING-15 U.S.C. §
                        1125(c)

        Turning back to the response above regarding Count I, the 1st MMBNAA has

  been around since 1932 and has used Plaintiff’s marks continuously since inception.

  The MOU did not include any language specific to licensing its trademarks to the 1st

  MMBNAA. Hence, as explained above, at least the doctrines of laches, estoppel and

  waiver warrant a dismissal of this count as all defendants have been prejudiced by

  Plaintiff’s belated attempts to police its marks.

                   4)   Count IV—FLA. STAT. § 495.131- INFRINGEMENT.

        As with the other above Counts discussed above, Plaintiff was complicit in

  the 1st MMBNAA use of Plaintiff’s marks as Plaintiff knew of the usage and allowed

  it to continue until finally raising an issue in 2021. Plaintiff took action to abide by


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  Plaintiff’s cease and desist letter. See Ex. E through Ex. H. Plaintiff’s actions have

  prejudiced the 1st MMBNAA. Therefore, as explained above, at least the doctrines

  of laches, estoppel and waiver warrant a dismissal of this Count as all defendants

  have been prejudiced by Plaintiff’s belated attempts to police its marks.

                  5)   Count V—FLA. STAT. § 495.151- DILUTION

        Turning back to the response above regarding Count I, the 1st MMBNAA has

  been around since 1932 and has used Plaintiff’s marks continuously since inception.

  In view of Plaintiff’s actions, any claim of dilution is moot. Therefore, as explained

  above, at least with respect to the doctrines of laches, estoppel and waiver warrant a

  dismissal of this Count as all defendants have been prejudiced by Plaintiff’s belated

  attempts to police its marks.

                  6)   COUNT VI—FLORIDA COMMON LAW TRADEMARK
                       INFRINGEMENT

        As stated above, until 2021, Plaintiff took no action to police the use of its

  trademarks. In addition to not expressly addressing the use of Plaintiff’s trademarks,

  the MOA does clearly state that it is not a legally binding agreement. Therefore, as

  explained above, at least with respect to the doctrines of laches, estoppel and waiver

  warrant a dismissal of this Count as all defendants have been prejudiced by

  Plaintiff’s belated attempts to police its marks.

                  7)   Count VII—VIOLATION OF FLORIDA’S UNFAIR AND
                       DECEPTIVE TRADE PRACTICES ACT


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        Turning back to the response above regarding Count I, the 1st MMBNAA has

  been around since 1932 and has used Plaintiff’s marks continuously since inception.

  Any “unfair and deceptive trade practices” claimed by Plaintiff are directly related

  to its own actions—namely the relationship between the parties and allowing the 1st

  MMBNAA to use its marks without a license. Hence, at least with respect to the

  doctrines of laches, estoppel and waiver warrant a dismissal of this Count as all

  defendants have been prejudiced by Plaintiff’s belated attempts to police its marks.

                   8)   Count VIII—TRADEMARK INFRINGEMENT- 15 U.S.C.
                        § 1114

        In view of the responses above regarding the aforementioned counts, the 2nd

  MMBNAA, which was only created as a former treasurer failed to provide the

  requisite 501(c)(3) documentation to the incoming secretary, and since it works

  hand-in-hand with the 1st MMBNAA, simply followed suit of the 1st MMBNAA

  especially considering that it is evident that Plaintiff consciously choose not to police

  the use of its trademarks. How close they work hand in hand is evident by the IRS

  allowing the 2nd MMBNAA to have the same fiscal year as the 1st MMBNAA. See

  Ex. G. Therefore, as explained above, at least with respect to the doctrines of laches,

  estoppel and waiver warrant a dismissal of this Count as all defendants have been

  prejudiced by Plaintiff’s belated attempts to police its marks.

                   9)   COUNT IX—FALSE DESIGNATION OF ORIGIN-15
                        U.S.C. § 1125(a)

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        The 2nd MMBNAA was only created as a former treasurer failed to provide

  the requisite 501(c)(3) documentation to the incoming secretary, and since it works

  hand-in-hand with the 1st MMBNAA. How close they work hand in hand is evident

  by the IRS allowing the 2nd MMBNAA to have the same fiscal year as the 1st

  MMBNAA. See Ex. G. The 2nd MMBNAA simply followed suit of the 1st

  MMBNAA especially considering that it is evident that Plaintiff consciously choose

  not to police the use of its trademarks. Therefore, as explained above, at least with

  respect to the doctrines of laches, estoppel and waiver warrant a dismissal of this

  Count as all defendants have been prejudiced by Plaintiff’s belated attempts to police

  its marks.

                  10) Count X—VIOLATION OF FLORIDA’S UNFAIR AND
                       DECEPTIVE TRADE PRACTICES ACT

        In view of the remarks above regarding the other causes of action, it is evident

  that any perceived unfair and deceptive trade practice violations were the sole and

  direct result of Plaintiff failing to properly police its marks. The 2nd MMBNAA was

  only created as a former treasurer failed to provide the requisite 501(c)(3)

  documentation to the incoming secretary, and since it works together with the 1st

  MMBNAA. How closely they both work hand in hand is evident by the IRS

  allowing the 2nd MMBNAA have the same fiscal year as the 1st MMBNAA. See Ex.

  G. The 2nd MMBNAA simply followed suit of the 1st MMBNAA especially



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  considering that it is evident that Plaintiff consciously choose not to police the use

  of its trademarks.

                   11) Count XI—Civil Conspiracy

        The elements of a civil conspiracy claim are: "(a) a conspiracy between two

  or more parties, (b) to do an unlawful act, or to do a lawful act by unlawful means,

  (c) the doing of some overt act in pursuance of the conspiracy, and (d) damage to

  plaintiff as a result of the acts done under the conspiracy. See, e.g., Drenberg v.

  Focus!...On Surety, LLC., 2013 U.S. Dist. LEXIS 178834 (Middle District of Florida

  December 20, 2013). In the instant case, there was no conspiracy as there in essence

  is only one party (see argument below regarding Mr. McCray and see also

  Mancinelli v. Davis, 2017 WL 1278074, *2 (Fla. 4th DCA 2017) (finding that a

  company cannot conspire with its officers, employees and agents if none have a

  personal stake in the underlying activities that is separate from the company’s

  interests)) and there was a legitimate business purpose. The 2nd MMBNAA was only

  created as a former treasurer failed to provide the requisite 501(c)(3) documentation

  to the incoming secretary, and since it works together with the 1st MMBNAA. Both

  entities have the same officers, and boards. The 1st MMBNAA is essentially dormant

  as it no longer has its not-for-profit status with the IRS.

            b. Defendant McCray is entitled to summary judgement as he does
               not possess the request control to be a named Defendant



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        It is well-settled in the Eleventh Circuit that a trademark may be infringed by

  an individual as well as a corporation and all participants, including those acting

  merely as officers of a corporation, where all participants may be jointly and

  severally liable. Chanel, Inc. v. Italian Activewear of Florida, Inc., 931 F. 2d 1472,

  1477 (11th Cir. 1991) (“Natural persons, as well as corporations, may be liable for

  trademark infringement under the Lanham Act…. If an individual actively and

  knowingly caused the infringement, he is personally liable.”); Babbit Electronics,

  Inc. v. Dynascan Corp., 38 F. 3d 1161, 118 (11th Cir. 1994)(“[A] corporate officer

  who directs, controls, ratifies, participates in, or is the moving force behind the

  infringing activity, is personally liable for such infringement without regard to

  piercing of the corporate veil.”); Luxottica Group, S.P.A. v. Airport Mini Mall,

  LLC, 932 F. 3d 1303, 1317, n. 8 (11th Cir. 2019) (Personal contributory liability

  was found of owner and manager of shopping center where tenants sold counterfeit

  goods. They were the “‘moving, active, conscious forces’ behind their subtenant’s

  infringement.”); Edmondson v. Velvet Lifestyles, LLC, 43 F. 4th 1153, 1164 (11th

  Cir. 2022) (President and manager of co-defendant corporation was not personally

  liable for summary judgment finding false endorsement. “It is not sufficient to

  show that the individual ‘participated or engaged in some infringing act;’ the

  individual must have ’actively participated as a moving force in the decision to

  engage in the infringing acts, or otherwise caused the infringement as a whole to

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  occur.’”); Museum of Selfies, Inc. v. Miami Selfie, LLC., 2022 WL 2390718, *4-5

  (S.D. Fla. 2022) (Dismissed claims against individual defendants. “Plaintiff

  provides no factual allegation that the individual Defendants actively and

  knowingly participated in the infringing activities, as opposed to other members or

  employees of the corporate Defendants.”).

         Hence, to be personally liable, Mr. McCray must have done more than

  merely controlled corporate affairs, he must have personally taken part in

  infringing activities or specifically directed employees to do so. Edmondson v.

  Velvet Lifestyles, LLC, 43 F. 4th 1153, 1161 (11th Cir.) (Quoting treatise. President

  and manager of co-defendant corporation was not personally liable for summary

  judgment finding false endorsement.). Even though alleged by Plaintiff, such

  actions clearly have not occurred here. Instead, to the contrary, Mr. McCray

  actually has taken actions specifically to direct the MMBNNA and its various local

  chapters not to commit any infringing acts.

         Specifically, Corporate Defendants operate pursuant to its By-Laws. See Ex.

  E, para. 8-10; Ex. F, para. 5-6; Ex. G, para. 8-11; and Ex. H, para. 9. All actions

  taken by Mr. McCray were in accordance with the By-Laws as the general actions

  were first approved by the MMBNAA. See, e.g., Ex. E through Ex. H.

         Mr. McCray did not actively and knowingly cause the alleged infringement

   as alleged actions were in support of approved positions taken by either the

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  Executive Committee or the Board of Directors. See., e.g., Ex. E through Ex. H.

  Nor did he actively participate as a moving force in the decision of the MMBNAA

  with respect to the causes of action at issue as each and every member of the

  Executive Committee or the Board of Directors possess an equal vote to Mr.

  McCray. See, e.g., Ex. E through Ex. H.

        Furthermore, it is evident, that as President, Mr. McCray led efforts to make

  sure the issues raised by Plaintiff in the cease and desist letter were properly

  addressed. See generally, Ex. E through Ex. H.

        Therefore, there is no legal basis for Mr. McCray to be personally named as

  defendant in this action.

            c. Defendants are entitled to their attorneys’ fees and costs pursuant
               to 15 U.S.C. §1117(a).

         Defendants are entitled to each of their respective attorneys’ fees incurred in

  relation to the instant action pursuant to 15 U.S.C. §1117(a). In an exceptional

  trademark infringement case brought under the Lanham Act, a court may award

  reasonable attorney’s fees to the prevailing party. 15 U.S.C. §1117(a). A “prevailing

  party” includes a prevailing defendant. See Welding Servs. V. Forman, 301 Fed. Appx.

  862 (11th Cir. 2008) (citing Lipscher v. LRP Publ’ns, Inc., 266 F.3d 1305, 1319 (11th Cir.

  2001) The conduct that the court must assess in order to determine whether a case is

  exceptional depends on which party prevails. See Welding Servs., 301 Fed. App. At 862




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  (citing Nat’l Ass’n of Prof’l Baseball Leagues, Inc. v. Very Minor Leagues, Inc., 223 F.3d 1143,

  1148 (10th Cir. 2000). The Tenth Circuit explained:

                When attorney fees are awarded against a defendant, the
                court looks to whether the defendant’s acts of infringement
                were pursued in bad faith. When attorney fees are awarded
                against a plaintiff, the court looks to the plaintiff’s conduct
                in bringing the lawsuit and the manner in which it is
                prosecuted. (emphasis added)

  Id. An exceptional case is one that can be characterized as malicious, fraudulent,

  deliberate or willful, or one in which evidence of bad faith or fraud exists. Welding

  Servs., 301 Fed. Appx. At 862 (citing Tire Kingdom, Inc. v. Morgan tire & Auto, Inc., 253

  F.3d 1332, 1335 (11th Cir. 2001). Applying this standard, the Eleventh Circuit has

  held that an award of attorney’s fees to a prevailing defendant may be justified when

  a plaintiff has brought an obviously weak Lanham Act claim and the evidence shows

  that the plaintiff has acted in bad faith and with improper motive. Id. at 1336.

  (emphasis added).

         In the instant case, attorneys’ fees are clearly warranted. Plaintiff’s Lanham Act

  claim is extremely weak based on the fact AFFIRMATIVE DEFENSES… Specific

  to Defendant McCray, as explained above, there was no basis to name him

  individually and even when Plaintiff should have realized this error, and instead of

  dropping Mr. McCray as a party, Plaintiff pressed forward without disregard to the

  improprieties of its actions. Pursuant to 15 U.S.C. §1072, Plaintiff’s conscious and

  deliberate actions warrant the award of attorneys’ fees and costs to Defendants as the

  prevailing party.

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           d.    Defendants reserve their right to recover each of their respective
                 attorneys’ fees as the prevailing parties of this suit pursuant to Fla.
                 Stat. 495.141.

           Under the Florida trademark statute, courts have the discretion to grant

  reasonable attorney’s fees to the prevailing party according to the circumstances of

  the case. See Fla Stat. § 495.141 (stating that the court may also award reasonable

  attorney’s fees to the prevailing party according to the circumstances of the case).

  Defendants reserve their right to individually seek recovery of their fees under the

  statute currently, with the intent to move for fees at a later junction.

            e.   Defendants reserve their right to recover each of their respective
                 attorneys’ fees as the prevailing parties of this suit pursuant to Fla.
                 Stat. 501.2105.

           Under FDUTPA, courts have the discretion to grant fees and costs to a

  prevailing party. See Fla Stat. § 501.2105(1) (stating that a prevailing party "may

  receive [its] reasonable attorney's fees and costs from the non-prevailing party"); Fla.

  Stat. § 501.2105(3) ("The trial judge may award the prevailing party the sum of

  reasonable costs incurred in the action plus a reasonable legal fee for the hours actually

  spent on the case as sworn to in an affidavit."). Defendants reserve their right to

  individually seek recovery of their fees under the statute currently, with the intent to

   move for fees at a later junction.

      V.        ORAL ARGUMENTS




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        Though Defendants submit the case law is clear about Plaintiff’s failure to

  belated police and enforce its trademarks, Defendants concur in Plaintiff’s request for

  oral arguments.

     VI.    CONCLUSION

        Based on the foregoing, Defendants submit that in view of Plaintiff’s actions

  and inactions, this matter, in its present configuration with the inclusion of all ___

  counts, should never have been brought before this Court. Defendants respectfully

  request that this Honorable Court GRANT Defendant’s Motion for Summary

  Judgment against all counts or at least those the Court agrees were improperly

  brought, reimburse Defendants for their attorneys’ fees and costs in defending this

  matter, and provide such other and further relief as this Court deems just and

  necessary.

        Dated this 8th day of January 2024.

                                          Respectfully submitted,

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                                           157 E. New England Avenue, Suite 375
                                           Winter Park, FL 32789
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                                           Attorney for Defendants, Dr. Mary Mcleod
                                           Bethune National Alumni Association,
                                           Inc., Mary Mcleod Bethune National
                                           Alumni Association, Inc., and Johnny L.
                                           McCray, Jr.

                                      By: /s/ Terry M. Sanks
                                          Terry M. Sanks
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                                      Florida Bar No. 0154430


                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 8th, 2024, I electronically filed the

  foregoing document with the Clerk of the Court using the CM/ECF system.


                                                /s/ Terry M. Sanks
                                                Terry M. Sanks




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